Case 0:21-cv-60503-RKA Document 22 Entered on FLSD Docket 08/10/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                CASE NO.: 0:21-cv-60503-RKA

   EDUARDO GARCIA,

              PLAINTIFF,

   V.

   HEALTHCARE REVENUE
   RECOVERY GROUP, LLC.,

            DEFENDANTS.
   _____________________________________/


                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         COMES NOW, Plaintiff, Eduardo Garcia, and Defendant, Healthcare Revenue

  Recovery Group, LLC. (collectively the “Parties”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by

  and through their undersigned counsel, and would represent to the Court that this action has been

  resolved and would request entry of an Order dismissing this matter with Prejudice, each party to

  bear their own costs and attorneys’ fees.

         Dated this 10th day of August 2021.

   /s/Jibrael S. Hindi                          /s/ Skohlmyer@shepardfirm.com
   Jibrael S. Hindi, Esquire                    Ernest H. Kohlmyer, III, Esquire
   Florida Bar No. 118259                       Florida Bar No. 110108
   jibrael@jibraellaw.com                       Skohlmyer@shepardfirm.com
   Thomas J. Patti , Esquire                    Shepard, Smith, Kohlmyer & Hand, P.A.
   Florida Bar No.: 118377                      2300 Maitland Center Parkway, Suite 100
   tom@jibraellaw.com                           Maitland, Florida 32751
   The Law Offices of Jibrael S. Hindi          Telephone (407) 622-1772
   110 SE 6th Street, Suite 1744                Facsimile (407) 622-1884
   Fort Lauderdale, Florida 33301               Attorneys for Defendant, HRRG
   Telephone: 954-907-1136
   Facsimile: 855-529-9540
   Attorneys for Plaintiff
Case 0:21-cv-60503-RKA Document 22 Entered on FLSD Docket 08/10/2021 Page 2 of 2




                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on August

  10, 2021, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing has been

  sent via electronic transmission to the following: Jibrael S. Hindi, Esquire                 at

  jibrael@jibraellaw.com; Thomas J. Patti, Esquire at tom@ jibraellaw.com; Paul Herman at

  paul@consumeradvocatelaw.com;            Joel       A.         Brown,         Esquire        at

  joel.brown@friedmanandbrown.com (Attorneys for Plaintiff).


                                                    /s/ Ernest H. Kohlmyer, III
                                                    Ernest H. Kohlmyer, III
                                                    Florida Bar No.: 110108
                                                    skohlmyer@Shepardfirm.com
                                                    Shepard, Smith, Kohlmyer & Hand, P.A.
                                                    2300 Maitland Center Parkway, Suite 100
                                                    Maitland, FL 32751
                                                    Phone: (407) 622-1772
                                                    Fax: (407) 622-1884
                                                    Attorneys for Defendant, Healthcare
                                                    Revenue Recovery Group, LLC
